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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

GERALD DEWAYNE BREWSTER,                   )
                                           )
       Petitioner,                         )
                                           )
v.                                         )   Case No.: 4:21-cv-00557-AKK-JHE
                                           )
STATE OF ALABAMA, et al.,                  )
                                           )
       Respondents.                        )

                          MEMORANDUM OPINION

      On May 20, 2021, the magistrate judge entered a Report and

Recommendation, recommending that the petition for writ of habeas corpus be

dismissed without prejudice for lack of jurisdiction because it is successive. Doc. 5.

Gerald Dewayne Brewster filed two affidavits objecting to the Report and

Recommendation. Docs. 6; 7.

      Brewster argues that his current petition is not successive because the state

courts failed to address his claims on the merits. See docs. 6 at 2; 7 at 2-3. The

remainder of the petitioner’s objections argue the merits of his claims. However,

this court’s jurisdiction over this petition does not depend on the state courts’

disposition of the petitioner’s claims or their merits. As the magistrate judge found,

the petitioner challenged the same conviction he challenges here in a previous

petition under 28 U.S.C. § 2254. See Brewster v. Boyd, Case No. 2:09-cv-00631-
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RDP-JEO (N.D. Ala.). The court denied that petition after an evidentiary hearing.

Id. at docs. 37; 39; 40. Under those circumstances, any subsequent petition is

successive. Guenther v. Holt, 173 F.3d 1328, 1329 (11th Cir. 1999). Since the

petitioner has not obtained an order from the Eleventh Circuit Court of Appeals

authorizing him to file a successive petition, this court lacks jurisdiction over the

current petition. See Burton v. Stewart, 549 U.S. 147, 153 (2007).

      The court has considered the entire file in this action, together with the report

and recommendation, and has reached an independent conclusion that the report and

recommendation is due to be adopted and approved. Accordingly, the court hereby

adopts and approves the findings and recommendation of the magistrate judge as the

findings and conclusions of this court. The petition for writ of habeas corpus is due

to be DISMISSED WITHOUT PREJUDICE. A separate Order will be entered.

      DONE the 8th day of June, 2021.


                                       _________________________________
                                                ABDUL K. KALLON
                                         UNITED STATES DISTRICT JUDGE




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